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IN THE UNITED sTATEs DIsTRIcT coURT F"-ED BY _L.L..w.. D.C.
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nms/wm
JoHN T. cRUNK, et. al. , CLEHKU,S.H':>TR?GTOOUHT

W/D C:F? H‘:"P:EP`HIS
Plaintiffs,
v_ No. 04-2573 Ml/v

BDo sEIDMAN, L.L.P, et. al.,

Defendants.

 

ORDER FOLLOWING STATUS CONFERENCE

 

A teLephone Status conference in this case was held on
August 31, 2005. Representing Plaintiffs John T. Crunk, Sr.,
Pquy B. Crunk, Jehn T. Crunk, Jr., Gina D. Crunk, JSRC Division
Investments LLC, JJRC Division Investments LLC, Division
Partners, JTCSR Division InveStOrS, Inc., James H. Barton, Carol
P. Barton, Jane J. Barton, Keith J. Barton, Frank G. Barton, III,
JHB May Hollow Cove Investmente LLC, JHB Investment Partners, JHB
May Hollow Cove Investors, Inc., FGBJR Management LLC, FGBJR
Investments Partners, and FGBJR Inve$tors, Inc. (collectively the
“Plaintiffs”) was Jeven Sloan. Representinq Defendants Deutsche
Bank AG, David Paree, Craig Brubaker, and Deutsche Bank
Securities, Inc. were Benjamin Sokoly and Justin Joy.
Representing Defendants Roland Thon and Esot Resources, Inc. was

Robert Moore. Representing Defendants Crosslin, Vaden &

_l_

ThEs document entered on the docket sheet In gc_)mplianca
with ama 58 and!or vs(a) FHCP on 'Q ~OJ

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Associates, P.C. and J. Dell Crosslin was Steven Riley.
Representing Defendant BDO Seidman, L.L.P. and Mark Puckett was
Clarence Wilbin.

The Court determined that issues are still pending in the
Jenkens case which makes it premature to lift the stay in this
matter. Counsel for Deutsche Bank and counsel for Plaintiffs
agreed to promptly file a motion with the Court in the event that
there is a material change in the Jenkens case.l

In accordance with the request of counsel, the Court ordered
Plaintiffs to produce FRCP Rule 26(a)(l) materials regarding
Defendant Thon. Plaintiffs are ordered to produce the required
materials within 21 days.

The Court will hold a telephone conference in this cause on
Thursdav. March 23, 2006, at 9:00 a.m. to determine the status of
the Jenkens case. Counsel for Defendant Deutsche Bank shall

initiate the call with all parties on the line.

So ORDERED this ;1 day of September, 2005.

umwa

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

!Counsel discussed with the Court the fact that there are pending
motions to dismiss by two defendants, and requested that the stay be lifted to
require responses so that the Court could dispose of the motions. The Court
declined to lift the stay for that purpose. At an appropriate time, the
motions may be dismissed without prejudice, with permission to renew the
motion upon the lifting of the stay.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
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Honorable J on McCalla
US DISTRICT COURT

